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                                  EXHIBIT B




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    Case 2:20-cv-13134-LVP-RSW ECF No. 194-3, PageID.7304 Filed 02/24/22 Page 2 of 14


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                             New Jersey Continuing Legal Education Certificate of Attendance

                           This certificate Is issued under Rule 1:42 and BCIE Reg. 301:8 of the Board on Continuing Legal Education,


    Title of Program:      Vote by Mail, Early Voting and Digitized Election Administration
    Date(s) of attendance: l/16/2022Location (City/State):Online at www.clecenter.com


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    Name of Attorney:     Howard Kleinhendler

    Signature:                                                  Attorney ID#(if applicable):
                 7
    Credit for Faculty Participation
; Qspeaker                                                                                            OModerator
    Qpanel member                                                                          Others     □
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       Course Details    Library    Panelists    Ask Expert



          Agenda

               ● Early Voting in America

                   - A Typology of Early Voting Law and Procedures

                   - Three Periods of Reform

                   - Early voting Today: Wide Public Usage and Support

               ● Digitized Election Administration

                   - Introduction

                   - Election Administration and the Digital Revolution

                   - State and Federal Efforts to Ensure the Reliability and Security

               ● Conclusion



          Runtime: 2 hours

          Recorded: July 21, 2020

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                         This certificate is issued under Rule 1:42 and BCLE Reg. 301:8 of the Board on Continuing Legal Education.


  Title of Program:      Gender Parity In the Electoral Process
  Date(s) of attendance: l/16/2022Location (City/State):Onllne at www.clecenter.com



  Orraditional live classroom format                                          OcD              Dwebinar

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  Ihjs program has been approved for:

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  including 0 Ethics credits
  This course also qualifies for certification credit for:

  StSrIi'evs' R^taiPthil                     ^ Matrimonial law   □ Municipal Court Law     □ Workers' compensation law
  e?ent of an au^ lou                      ^         t                                        y®"*- attendance. In the
  certmcarrvnu                       required to provide this certificate as proof of your compliance. By signing this
  cr^itslisted     ^^                  attended the activity described above and are entitled to claim the amomt of

  Name of Attorney:     Howard Kleinhendler

  Signature;
                                                               Attorney lD#{if applicable);
  Credit for Faculty Participation
  Ospeaker
                                                                                                     OModerator
 I OPanel member                                                            Q               .
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       Course Details     Library    Panelists     Ask Expert



          Agenda
              ● Examine the representation of women in elective office

              ● Study how campaign finance and other election-related laws impact gender parity in the

                 electoral process

              ● Identify potential changes in the law that the ABA may pursue through

                 recommendations, resolutions or guidelines

              ● Provide resources for lawyers interested in more involvement

          Runtime: 1 hour, 2 minutes

          Recorded: August 24, 2020
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           Howard Kleinhendler                                                                           Award credit in accordance with §8(A)(4)(a) of the Regulations. Enter number of
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         £ Name of Attorney
                                                                                                         For Newly Admitted and/or Experienced Attorneys:
           Hacking Elections: Cyber Threats, Vulnerabilities, and The
           Wav Forward                                                                                   N/A           Ethics and Professionalism
                                                                                                         N/A           Skills
                                                                                                         N/A           Law Practice Management
         ^ Title of Program
            l/l 6/2022                                                                                   1.50          Areas of Professional Practice
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           Online at www.clecenter.com                                                                   N/A      Diversity, Inclusion and Elimination of Bias
         ^ Location of Program (City, State)                                                             In accordance with §10(B)(2) of the Regulations, for multiple breakout sessions,
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       B. Format of Program
       (Check only the format completed by the attorney to whom this certificate is issued.)
                                                                                                         F. Credit for Faculty Participation
       Ol. Traditional Live Classroom Format                                                             Award credit in accordance with §3(D) of the Regulations. Select participation
                                                                                                         type and enter number of credits earned in each category:
       02. Fully Interactive Videoconference                                                             For Expe.rie.n.ced^AttQmev..s..(2nlv:
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        03. Questions Allowed During Program (synchronous imeraciiviiy)
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        04. Questions Not Allowed During Program
                                                                                                         N/A           Skills
       ©5. On-Demand/Recorded (Audio/Video)                                                              N/A           Law Practice Management
       Of). Other (Describe)                                                                             N/A           Areas of Professional Practice
       Newly admitted attorney format restrictions (except as provided in §2(A) and                      N/A
       §2(F) of the Regulations):
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       D. Level of Difficulty                   (Check only one)


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       Course Details     Library     Panelists   Ask Expert



          Agenda


                 Cybersecurity Overview

                 Foreign Interference

                 Election Ecosystem

                 Cascading Effects

                 Changing Nature of Threats and Adversary Thinking

                 Election System Reforms

                 Conclusions

                 Q&A

          Runtime: 1 hour and 34 minutes

          Recorded: March 18, 2019
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      Title of Program ●.Election Law
      Date: 01/18/2022                                   Location: online

      Format: (please check)
      □ Traditional live classroom setting               □ CD                           □ Webinar
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      All credits are calculated on a 50-niinute hour.
      Credit for Attendance: Total      1.50 as indicated below:
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                                        0.00    Ethics credits (exclusive of Diversity/Inclusion''Elimination ol Bias)
                                        0.00    Diversity/Inclusion/Elimination of Bias credits


      Additional Credit for Faculty Participation: Total                                 as indicated below:
       □ Speaker        □ Panel Member          □ Moderator             □ Other

                                               _ Additional General credits for faculty participation (excluding Ethics)
                                                Additional Ethics credits for faculty participation (exclusive of
                                                Diversity/lnclusion/Eliminaiion of Bias
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                                                participation


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                                               credits in NJ Basic Estate Administration
                                               credits in N.I Basic Estate Planning
                                               credits in NJ Civil or Criminal Trial Preparation
                                               credits   in   NJ   Family Law Practice
                                               credits   in   NJ   Real Estate Closing Procedures
                                               credits   in   NJ   Trust and Business Accounting
                                               credits   in   NJ   Laiidlord/Tenant Practice
                                               credits in NJ .Municipal Court Practice
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      you certify that you attended the activity described above and arc entitled to claim die amount of credits listed.

      Name of Attorney: Howard Kleinhendler


      Signature:                                                         .Attorney ID #:
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       Provider: Garden State CLE (Robert Ramsey, Instructor)


       Acknowledged by:
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                 ELECTION LAW: So you want to be a New Jersey election law attorney?

     I. Presenters

         A. Robert Ramsey, Esquire, Garden State CLE Senior Instructor

         B. Robert D. Herman, Esquire, Certified Criminal Trial Attorney

                     1. Extensive Campaign Experience

                     2. Represents Atlantic County Democratic Committee

     II. Public Policy- The public must have absolute confidence in the legitimacy and accuracy of the
        election process.

     III. Terms, Definitions and Miscellaneous Issues

            A. Franchise- The right to vote.

                     1. New Jersey Voter Registration Requirements

                            a. U.S. Citizen,

                            b. At least 17 years old to register, but must be 18 to vote,

                            c. County resident for 30 days before the election,

                            d. A person not serving a sentence of incarceration as a result of a
                            conviction for any indictable offense under the laws of this or another
                            state, or of the United States. Accordingly, people on probation and parole
                            are eligible to vote.

                     2. Residency Issues

                            a. If more than one residence, vote where the majority of time is spent.
                            Voting in both locations will result in criminal charges,

                            b. If the same or more time is spent in another state, but the voter
                            considers himself/herself a New Jersey resident, look at factors such as
                            real estate taxes, driver’s license, family ties, etc.

                     3. Residency Issues- Procedure

                            a. If the residency issue is raised pre-election, a provisional ballot is used,

                            b. If it is raised post-election, a complaint is filed,

                            c. On election day, the issue is addressed by one of the on-call superior
                            courtjudges.


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          B. Canvass- The acts of collecting and processing the ballots.

          C. Vote by Mail- In New Jersey, a vote by mail is the same as an absentee vote; the terms
          are interchangeable. Voting by mail was established in New Jersey in response to the
          COVID-19 pandemic. Prior to the pandemic, several western states were already
          allowing votes by mail.

          D. Ballot- A diminutive ball, i.e., a little ball used in giving votes.

          E. Tally- Total votes (noun); accumulating or checking the number of votes for a
          candidate or issue and coming up with a total (verb).

          F. Active V. Inactive Voter

                  I. Unlike an active voter, an inactive voter has not voted in a certain number of
                  elections, which is generally two successive federal elections.

                  2. An inactive voter may still vote. He/she simply needs to confirm his/her
                  address at the polling station by use of a form containing an affirmation. If there is
                  a dispute, the ballot is provisional.

          G. Number and Locations ofPolling Stations- The number and locations of polling
          stations are determined by each County Board of Elections. In 2020, in consideration of
          the anticipated increase in voting by mail, a statutory requirement mandating that only
          50% of the existing polling stations be maintained was enacted.

          H. Challengers- Representatives of the political parties with challenger credentials.
          Challengers are relied upon by the attorneys to establish whether there are any issues with
          a particular polling station. Examples of issues (challenges) include, but are not limited
          to, electioneering and improper behavior by poll workers.

          I. Electioneering- When a politician or campaign worker takes part actively and
          energetically in the activities of a campaign in the polling place, or within 100 feet of its
          entrance, unless the activity occurs on private property. Election law attorneys, who
          represent a party/candidate, look for electioneering.

          J. Ballot Cure Act- Established in August, 2020 to modify and establish vote by mail
          procedures.

          K. County Superintendent of Elections

                  1. Appointed by the governor to a five-year term.

                  2. Prineipal duty is to ensure the integrity of the vote.

                  3. Additional Responsibilities


                                                     2
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                          a. Maintains ballot security, i.e., makes sure no one has access to ballots
                          received,

                          b. Investigates election issues,

                          c. Canvasses,

                          d. Controls the polling machines.

          L. Responsibilities of County Clerk

                  1. Handles registration materials.

                  2. Processes vote by mail requests.

                  3. Oversees voters’ movements from inactive to active status.

                  4. Ensures that the ballot is printed correctly.

           M. Role of Municipal Court Clerk- Works with the County Board of Elections to
           designate polling stations.

           N. Responsibilities of the County Board of Elections

                  1. Responsible for poll workers and their training.

                  2. Staffed by representatives of both major political parties.

                  3. Responsible for the unofficial tally.(A tally is not official until certified by the
                  County Clerk.)

          O. Voter Assistance- Statutory requirement that voters be provided assistance for physical
          disabilities, language deficiencies, difficulties in understanding the election process, etc.

          P. Are children permitted to be in the voting booth? Children are allowed in the voting
          booth, but they are not permitted to push the buttons.

          Q. Clean Voter- A clean voter is a properly registered voter.

          R. Is ID required at the polling place? Identification is only required if the voter did not
          previously submit his/her driver’s license number or the last four digits of his/her social
          security number and/or the State cannot trace the voter.

          S. To what extent is the election law attorney involved when the vote is veiy close? The
          attorney may file a petition for a recount.

          T. Electoral College

                  1. A vote cast for a presidential candidate is not a direct vote. Rather, the vote is
                  cast for a slate of electors from the Electoral College.

                                                     3
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                   2. The number of electors for each state is equal to its total number of Senators
                   and Representatives in Congress. Accordingly, the Electoral College is made up
                   of 538 electors.(435 for the House, 100 for the Senate, and 3 for the District of
                   Columbia.) To win the presidency, a candidate must secure a simple majority of
                   270 votes.

    IV. Best way to prepare for a career as an election attorney is to read the primer on Election Law
    published by the State of New Jersey.

    V. Rules for Election Attorneys

           A. Election days are very long. The attorneys must have the requisite stamina.

           B. Must maintain professional and courteous relationships with adversaries. Good idea to
           reach out to adversary 30 days or so prior to the election.

           C. Attitude toward voters and the public should be one of politeness, consideration, and
           courtesy.

           D. On Election Day, attorneys must expect unpredictability.

    VI. Contact Information- For questions about this lecture or election law in general, Mr. Herman
    may be reached at rdhesql@msn.com.




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